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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION


GUSTAVIA GLOVER                                  :          DOCKET NO. 3:22-CV-4881


VERSUS                                           :          JUDGE JAMES D. CAIN, JR.

FOREMOST INSURANCE CO.
GRAND RAPIDS MICHIGAN                            :          MAGISTRATE JUDGE KAY



                                          JUDGMENT


       For the reasons contained in the Report and Recommendation of the Magistrate Judge

previously filed herein [doc. 21], after an independent review of the record, noting the absence of

objections thereto, and concurring with the Magistrate Judge’s findings under applicable law; it is

       ORDERED, ADJUDGED, AND DECREED that the Report and Recommendation [doc.

21] is ADOPTED and that this matter is DISMISSED WITHOUT PREJUDICE.

       This civil action may be reinstated within 30 days for good cause shown, per W.D. La.

Loc. Civ. R. 41.3. Any such showing to be made in writing and filed into the record of this matter.

       THUS DONE AND SIGNED in Chambers this 21st day of December, 2023.




                          __________________________________
                                  JAMES D. CAIN, JR.
                          UNITED STATES DISTRICT JUDGE




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